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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

PRAIRIE MANAGEMENT &                        )
DEVELOPMENT, INC., et al.,                  )   No. 23 CV 53
                                            )
                          Plaintiffs,       )
                                            )
       v.                                   )   Magistrate Judge Young B. Kim
                                            )
COLUMBIA MUTUAL INSURANCE                   )
COMPANY,                                    )
                                            )
                        Defendant.          )
_____________________________________       )
                                            )
LIBERTY INSURANCE                           )
UNDERWRITERS, INC.,                         )
                                            )
                          Plaintiff,        )
                                            )
       v.                                   )
                                            )
COLUMBIA MUTUAL INSURANCE                   )
COMPANY,                                    )
                                            )   June 16, 2025
                          Defendant.        )

                   MEMORANDUM OPINION and ORDER

      Plaintiffs Prairie Management & Development, Inc., Rockwell Properties,

LLC, Scottsdale Insurance Company, and Westfield Insurance Company (collectively

“Plaintiffs”), along with Liberty Insurance Underwriters Inc. bring two insurance

coverage suits alleging that Defendant Columbia Mutual Insurance Company

(“Columbia”) has a duty to indemnify them for the settlement they paid in connection

with a personal injury lawsuit Eduardo Guzman filed after suffering serious injuries

at a construction site (“Guzman Lawsuit”). At the time of his injuries, Guzman was
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working for TDH Mechanical, Inc. (“TDH”), and Columbia was TDH’s insurer. 1

Before the court is Plaintiffs’ third motion to compel Columbia to produce information

it withheld on privilege grounds. The current motion pertains to 13 documents,

consisting of 38 pages in total, the court ordered Columbia to submit for in camera

inspection, but Columbia omitted from its submission to the court (“Omitted

Documents”). For the following reasons, the motion is granted to the extent described

herein:

                                   Background 2

        Plaintiffs filed two motions to compel in November 2024 seeking responsive

discovery that Columbia withheld based on asserted protections (“Withheld

Documents”), among other documents. (See R. 82, Pls.’ Mem. in Support of Mot.

No. 1; R. 84, Pls.’ Mem. in Support of Mot. No. 2.) Columbia objected to producing

the Withheld Documents, including those relating to its outside counsel Quinn

Johnston’s handling of Plaintiffs’ claims for insurance coverage under the AI

Endorsement, on grounds they are protected by the attorney-client (“AC”) privilege,

the insurer-insured (“Insurer”) privilege, and/or the work-product (“WP”) doctrine.

(See R. 94, Def.’s Consol. Resp.) On February 3, 2025, the court ordered Columbia to

submit the Withheld Documents for in camera inspection by February 6, 2025. (R.




1 The court’s order of March 18, 2024, includes a more fulsome case history and
background. (R. 69, March 18, 2024 Mem. Op. and Order.)

2 The court incorporates by reference the background set forth in its February 24,
2025 Memorandum Opinion and Order (R. 109) ruling on Plaintiffs’ two previous
motions to compel.

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106; R. 107.) Columbia responded by timely submitting more than 100 pages of

documents, along with a supplemental privilege log.          (R. 110, Supp. Priv. Log.)

Columbia represented to the court that it “combined the two previously disclosed

privilege logs into th[e] Supplemental Log” to promote “judicial economy.” (Id. at 2.)

But because the supplemental log was not made part of the record, the court ordered

Columbia to file it on the docket. (R. 109, Feb. 24, 2025 Mem. Op. and Order at 12

n.5.) On February 24, 2025, the court granted in part Plaintiffs’ first two motions to

compel, finding that some documents submitted for in camera inspection were

properly withheld while others were not. The court allowed Columbia until April 30,

2025, to produce additional documents to Plaintiffs in accordance with the court’s

ruling. (R. 114.)

      Soon after the court’s ruling, Plaintiffs discovered that some of the documents

identified in Columbia’s two original privilege logs were not included in the

supplemental privilege log.     (See R. 117, Pls.’ Mot. No. 3 at 3.)      They informed

Columbia on March 5, 2025, that Columbia omitted certain documents from its in

camera submission to the court. (R. 117, Pls.’ Mot. No. 3 at 3 & Ex. A ¶ 5.) In a meet

and confer two days later, Plaintiffs asserted that Columbia had waived any

protection over the Omitted Documents by having failed to timely submit them to the

court for in camera review. (See id. at 3 & Ex. A ¶ 6; see also R. 106; R. 107.) Plaintiffs

then demanded production of the Omitted Documents. (R. 117, Pls.’ Mot. No. 3 at 3

& Ex. A ¶ 6.) Columbia said it would respond to Plaintiffs but did not do so. (Id. at

3 & Ex. A ¶¶ 5, 6.)




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      A month later, on April 5, 2025, Plaintiffs again demanded the production of

the Omitted Documents. (Id. Ex. A ¶ 7.) Although Columbia produced documents to

Plaintiffs on a rolling basis from April 5 to April 30, 2025 in response to the court’s

ruling on the motions to compel, it did not produce the Omitted Documents. (Id. Ex. A

¶ 8.) As a result, Plaintiffs requested another meet and confer, and after the parties

met on May 16, 2025, Columbia still did not produce the Omitted Documents. (Id. at

3 & Ex. A ¶ 9.) On May 21, 2025, Plaintiffs moved to compel Columbia to produce

the Omitted Documents, arguing that Columbia waived any protections by failing to

timely submit them to the court for in camera inspection. (See generally R. 117, Pls.’

Mot. No. 3.)    In response, on May 22, 2025, Columbia submitted the Omitted

Documents to the court for in camera inspection. (R. 122, Def.’s Resp. at 3.)

                                          Analysis

      Plaintiffs assert that Columbia cannot show “good cause or diligence” in

maintaining a privilege over the Omitted Documents. (R. 117, Pls.’ Mot. No. 3 at 5-

7.) For support, they point out that Plaintiffs had to “raise the issue” of Columbia’s

noncompliance with the February 3, 2025 orders, (id. at 6; see also R. 106; R. 107),

and even then, Columbia did not act correct its error, (id.).        Columbia claims

inadvertence in omitting documents from its supplemental privilege log and in

camera submission. (R. 122, Def.’s Resp. at 2.) But Columbia notes that it identified

the Omitted Documents in its original privilege logs, which were filed as exhibits to

Plaintiffs’ prior motions to compel. (Id.) Columbia thus contends that Plaintiffs have

not suffered any prejudice. (Id. at 3.)




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      Under Federal Rule of Civil Procedure 26(b)(5), a party withholding

discoverable information based on a privilege or immunity must “expressly make the

claim” and “describe the nature of the [information] . . . in a manner that . . . will

enable other parties to assess the claim.” In prior orders, the court made clear that

in camera inspection was necessary because “a review of the briefing and [Columbia’s]

privilege logs alone” did not establish that Columbia had “carried its burden of

showing that each Withheld Document is protected.” (R. 109, Feb. 24, 2025 Mem.

Op. and Order at 11; see also R. 106; R. 107.) Indeed, Plaintiffs expressed concerns

that the Withheld Documents related to “business functions inherent in all claims

determinations” and, as such, is not privileged or protected. (R. 109, Feb. 24, 2025

Mem. Op. and Order at 11 (citation omitted).) The court’s in camera review validated

these concerns, and the court ordered Columbia to produce certain Withheld

Documents following its inspection. (See id. at 12-16.)

      Just as “[c]ompliance with Rule 26(b)(5)(A) is not optional,” Rossman v. EN

Eng’g, LLC, 335 F.R.D. 171, 172 (N.D. Ill. 2020) (citation omitted), compliance with

court orders is mandatory, see Fed. R. Civ. P. 37(b)(2). In either case, noncompliance

may result in a waiver of a privilege or protection. See id. at 173 (“To withhold

materials without [] notice is contrary to [Rule 26(b)(5)], subjects the party to

sanctions under Rule 37(b)(2), and may be viewed as a waiver of the privilege or

protection.” (internal quotations and citation omitted)); see also Fed. R. Civ.

P. 37(b)(2)(A) (stating that courts may issue “just orders” where a party “fails to obey

an order or permit discovery”).) The key inquiry in deciding whether waiver is




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warranted turns on “whether [a] party’s failure [to comply with Rule 26(b)(5)(A)] is

mitigated by good faith attempts at compliance” or “the omission results from good

faith oversight.” Rossman, 335 F.R.D. at 173 (citations omitted).

      Columbia fails to satisfy this standard.        Columbia represented that its

supplemental privilege log merely “combined the two previously disclosed privilege

logs” and then assured Plaintiffs that there were “no additional assertions of privilege

related to any documents in [Columbia’s] possession.” (R. 110, Supp. Priv. Log at 2.)

Plaintiffs had no reason to doubt the veracity of these statements. (R. 117, Pls.’ Mot.

No. 3 at 3 & Ex. A ¶ 5.) But after Plaintiffs discovered the Omitted Documents and

notified Columbia, Columbia waited nearly three months to provide a “substantive

response” to Plaintiffs’ request for such documents. (Id. at 6.) During that time,

Columbia made no effort to inform the court of its error, despite court orders requiring

“the documents included in its privilege logs attached to [Plaintiffs’ two previous

motions to compel]” to be submitted for in camera inspection by February 6, 2025.

(R. 106; R. 107.) Columbia offers no justification—other than inadvertence—for its

cavalier disregard of court orders or its tardiness and lack of diligence in maintaining

a privilege over the Omitted Documents. (See R. 122, Def.’s Resp. at 2.)

      While courts have been reluctant “to apply the waiver doctrine mechanically”

absent evidence showing a lack of good faith, Rossman, 335 F.R.D. at 173 (collecting

cases), there is no doubt that Columbia failed to exercise good faith in executing its

duties and obligations under Rule 26(b)(5)(A) and this court’s orders. The court

understands that scrivener’s errors may occur, and Columbia may have been able to




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justify the omissions from its supplemental privilege log and in camera submission if

it had provided notice to Plaintiffs and the court in a timely manner. But here,

Columbia did not rectify or even admit its mistake until nearly three months after

Plaintiffs raised the issue. Even now, Columbia tries to skirt blame by invoking the

parties’ Confidentiality and Clawback Agreement, (see R. 117, Pls.’ Mot. No. 3 Ex. B),

which does not apply to the present circumstances because the Omitted Documents

were never produced to Plaintiffs. The court therefore finds substantial justification

lacking.

      Further, the court disagrees with Columbia’s contention that Plaintiffs “cannot

demonstrate[] that they have suffered any prejudice as a result of the omission of

these documents” because Plaintiffs never even reviewed them. (R. 122, Def.’s Resp.

at 3.) Under the amended scheduling order in this case, fact discovery was set to

close on January 24, 2025, (R. 80), but the court granted an extension to allow the

parties to file motions to compel, (R. 87). The fact discovery deadline has since been

extended to allow Columbia to comply with the court’s February 24, 2025 ruling on

those motions. (See R. 112; R. 114.) Meanwhile, Plaintiffs have been forced to

continually expend resources to seek the production of the Omitted Documents.

(R. 106; R. 107.) As the party seeking to maintain a privilege over the Omitted

Documents, Columbia should have acted promptly to comply with Rule 26(b)(5) and

the court’s orders.    Because it did not, Columbia caused Plaintiffs to incur

unnecessary fees and expenses. Accordingly, the motion must be granted.




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